     Case 5:18-cv-00204-C Document 59 Filed 03/22/19                      Page 1 of 28 PageID 826


                          THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

VISTA BANK,                                            §
                                                       §
        Plaintiff,                                     §
                                                       §
v.                                                     §
                                                       §            Civil Case No: 5:18-cv-00204-C
FIRSTCAPITAL BANK OF TEXAS,                            §
N.A., and BRAD BURGESS,                                §
                                                       §
        Defendants.                                    §

                           PLAINTIFFS’ SECOND AMENDED COMPLAINT

        Pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), Plaintiff Vista Bank (“Plaintiff”

or “Vista”) files this, its Second Amended Complaint, against Defendants FirstCapital Bank of

Texas (“FirstCapital”), and Brad Burgess (“B. Burgess”), collectively referred to as the

“Defendants”, and in support thereof, would respectfully allege as follows:

                                             I.
                                   PRELIMINARY STATEMENT

        This action arises from FirstCapital knowingly facilitating and supporting the continuation

of a multi-million dollar check kiting scheme initiated by the Reagor-Dykes entities 1 to enable

FirstCapital to continue to collect fraudulent deposits, while actively pushing fraud losses onto Vista

through a system of mass check returns. Vista files this lawsuit to recover more than $6,000,000.00

in damages maliciously inflicted by FirstCapital and B. Burgess through improper use of non-

public, material inside information. FirstCapital and B. Burgess obtained insider knowledge

through a close relationship with Rick Dykes, an owner in the Reagor-Dykes entities while also


1
 “Reagor-Dykes” entities include Reagor-Dykes Motors, LP (dba Spike Dykes Ford Lincoln, Reagor Dykes Auto
Mall of Midland, Prime Capital Auto Lease – Lamesa, Prime Capital Auto Lease – Midland), Reagor-Dykes Floydada,
LP, Reagor-Dykes Plainview, LP, Reagor-Dykes Auto Company, LP, Reagor-Dykes Amarillo, LP, Reagor-Dykes
Imports, LP, and other related and affiliated entities.


Plaintiff’s Second Amended Complaint                                                               Page 1 of 28
     Case 5:18-cv-00204-C Document 59 Filed 03/22/19                Page 2 of 28 PageID 827


being a major shareholder, Advisory Board Member, and former Board Member of FirstCapital.

Dykes was at one time a board member of FirstCapital but later, to get around banking Regulation

O, Dykes was moved to an “advisory” role with the board. According to Dykes, after the transition

to an advisory role, his role as a board member didn’t change at all except for his title. Thus, he

remained a constructive director of FirstCapital. Using this non-public information provided by

Dykes, FirstCapital benefited from the continuation of the Reagor-Dykes’ check kiting scheme at

Vista’s expense.

        Recent discovery has also proved that FirstCapital loaned Reagor-Dykes’ CEO Bart

Reagor and its CFO, Shane Smith, millions of dollars after the Reagor-Dykes entities filed for

bankruptcy. These inexplicable loans were done despite the material adverse change to Reagor and

Smith’s financial wherewithal. As there could be no reasaonbly prudent explanation for loaning

these key corporate officers of Reagor-Dykes millions of dollars, even after the fallout was

publically known, these suspect loans provide proof of the Defendants’ insider knowledge and

benefit from multiple parties’ wrongdoing. By this Complaint, Vista seeks redress for the

substantial harm incurred because of FirstCapital’s unlawful conduct.

                                               II.
                                             PARTIES

A.      Plaintiff.

1.      Plaintiff Vista Bank is a Texas financial institution duly formed and existing under the laws

of the State of Texas. Vista maintains its principal office in Lubbock, Texas.

B.      Defendants.

2.      Defendant FirstCapital Bank of Texas, N.A. is a Texas financial institution and may be

served through its Board of Director’s Chairman, Kenneth L. Burgess located at 805 North Big

Spring, Midland, Texas 79701 or wherever he may be found.



Plaintiff’s Second Amended Complaint                                                      Page 2 of 28
     Case 5:18-cv-00204-C Document 59 Filed 03/22/19                 Page 3 of 28 PageID 828


3.      Defendant Brad Burgess is an individual and a resident of the State of Texas. B. Burgess

may be served with process at 8611 Indiana Avenue, Lubbock, Texas 79413, or wherever he may

be found.

                                            III.
                                  JURISDICTION AND VENUE

4.      Jurisdiction in this Court is proper pursuant to 28 U.S.C § 1331 because Vista’s claim for

violation of the Federal Reserve System issued Regulation CC, arise under federal law. This Court

has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Vista’s state law claims because

those claims are so related to the federal claims that they form part of the same case or controversy.

5.      Pursuant to 28 U.S.C. § 1391, venue is proper in the United States District Court for the

Northern District of Texas, Lubbock Division, because a substantial part of the events or omissions

giving rise to the claims asserted herein occurred within this district and division, and the Court

has personal jurisdiction over Defendants.

                                         IV.
                            RELEVANT FACTUAL BACKGROUND

        A.      The Check Clearing Process and How it Should Work.

6.      An understanding of the normal check clearing process between banks provides context to

Defendants’ illegal actions against Vista.

7.      Payor Bank and Collecting Bank. When a banking customer deposits a check (also referred

to as an “item”) drawn from her account at one bank (the payor bank, “Bank 1”), into her account at

another bank (the collecting bank, “Bank 2”), the two banks work with the United States Federal

Reserve Bank (the “Federal Reserve”) to transfer account funds from Bank 1 to Bank 2 to clear the

item. For example, when Ms. Smith writes a $100.00 check from her account at Bank 1 and deposits

this $100.00 check into her account at Bank 2, Bank 2, as the collecting bank, sends the $100.00




Plaintiff’s Second Amended Complaint                                                        Page 3 of 28
     Case 5:18-cv-00204-C Document 59 Filed 03/22/19                 Page 4 of 28 PageID 829


deposited item to Bank 1, the payor bank, through the Federal Reserve cash letter system, as

explained below.

9.       The Cash Letters. Funds related to items change hands among different banks though cash

letters issued to and from the Federal Reserve. The cash letters a bank sends to the Federal Reserve

are “outgoing” cash letters and include all items deposited at that bank which are payable by other

banks. The cash letters the Federal Reserve sends to a bank are “incoming” cash letters and list the

items payable by that bank which were deposited at other banks.

10.      A collecting bank, in this example Bank 2, holding a deposited item payable by Bank 1,

includes the item as part of an outgoing cash letter to the Federal Reserve. The outgoing cash letter

requests funds from the payor bank (Bank 1) from the account the item is drawn on. Bank 2’s

outgoing cash letter will include multiple items it holds related to transactions involving other

banks.

11.      Upon the Federal Reserve’s receipt of Bank 2’s outgoing cash letter, it uses the listed items’

routing numbers to determine which financial institutions should pay the items to Bank 2 (e.g., for

Ms. Smith’s check, Bank 1 needs to pay Bank 2). The Federal Reserve then prepares an incoming

cash letter to Bank 1 listing all of the items submitted for payment from accounts held at Bank 1,

including Ms. Smith’s check for $100.00.

12.      When Bank 1 receives the Federal Reserve’s incoming cash letter, Bank 1 pairs the listed

items with the correct accounts and subtracts the indicated amounts from those accounts using the

account number printed on each item; however, if Bank 1 is unable to or refuses to pay any item

on the incoming cash letter for a valid reason as defined by the Federal Reserve (e.g., the item is

subject to a stop payment, a frozen account, or an account with insufficient funds to cover the full




Plaintiff’s Second Amended Complaint                                                        Page 4 of 28
   Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 5 of 28 PageID 830


item amount), Bank 1 may return the check to Bank 2 as “not paid” by including the item on an

outgoing return cash letter to the Federal Reserve.

13.    The Federal Reserve receives Bank 1’s outgoing return cash letter and issues an incoming

return cash letter to Bank 2, listing all “not paid” return items for which Bank 2 had requested

payment.

14.     This incoming return cash letter to Bank 2 will include a front and back copy of each

returned check. Using the incoming return cash letter’s check copy, Bank 2 determines which

account initially received credit for the returned check when originally deposited, and then subtracts

the money from the account using a process called chargeback.

15.     The Chargeback Process. A “chargeback” reverses any account credit the collecting bank

(Bank 2) previously provided to the depositing account holder for a returned item, forcibly

removing funds from the account into which the item was deposited. Specifically, a chargeback is

the reversal of a prior outbound cash letter and any related transfer of funds into a customer’s bank

account.

16.     The Federal Reserve requires that the chargeback process occur within four days of the

item being negotiated at Bank 2 for the return to be considered timely:

        Day 1: Ms. Smith deposits the check from Bank 1 into her account at Bank 2, and Bank 2
        sends the resulting outgoing cash letter to the Federal Reserve, providing a credit to Ms.
        Smith’s Bank 2 account increasing the balance by the amount of the check.

        Day 2: Bank 1, as the issuing bank, receives the incoming cash letter from the Federal
        Reserve, and the amount of the item on the check is subtracted from Ms. Smith’s Bank 1
        account.

        Day 3: If Bank 1 decides not to pay the item and return it to Bank 2 as unpaid, Bank 1 lists
        the returned items on its outgoing cash letter to the Federal Reserve.

        Day 4: Bank 2 receives the incoming return cash letter from the Federal Reserve containing
        all items that were not paid. Bank 2 reverses the credit in Ms. Smith’s Bank 2 account,
        reducing the account balance by the amount of the check.



Plaintiff’s Second Amended Complaint                                                       Page 5 of 28
   Case 5:18-cv-00204-C Document 59 Filed 03/22/19                 Page 6 of 28 PageID 831



17.     Any item Bank 1 returns outside of the four-day process described above is considered a

late return under the Uniform Commercial Code (“UCC”) and Federal Reserve guidelines,

normally preventing Bank 1 from avoiding paying the item to Bank 2. This process is further

illustrated in the graphic below:




        B.   How a Check Kiting Scheme Exploits the Check Clearing Process.

18.    Check Kiting. Check kiting is a form of check fraud that exploits the chargeback time frame.

When a collecting bank (Bank 2) receives deposit of an item, it increases the available balance in

the customer’s account by the item amount; however, the collecting bank will not receive actual

funds on account of the item until the check clearing process is completed through cash letters with

the Federal Reserve and payment by the payor bank (Bank 1). If the account holder withdraws funds

credited to her account for an item before the payor bank receives the incoming return cash letter




Plaintiff’s Second Amended Complaint                                                     Page 6 of 28
   Case 5:18-cv-00204-C Document 59 Filed 03/22/19                Page 7 of 28 PageID 832


returning that item, the account holder can receive cash on the account of the returned item, even

where the item has no cash value due to Bank 1’s refusal to pay on the item.

19.    Check kiting allows the account holder to withdraw non-existent funds from their account.

In this way, instead of being used as a negotiable instrument, checks are misused as a form of

unauthorized and fraudulently procured credit.

20.     Check kiters use accounts at two or more banks, intentionally writing worthless checks

from their unfunded account at the payor bank (Bank 1) and depositing these “bad” checks into

their account at the collecting bank (Bank 2). In the two to three days before Bank 1 returns the

deposited item, Bank 2 has increased the balance in Ms. Smith’s account, allowing Ms. Smith to

withdraw $100.00 on the account into which the item was deposited. When Bank 2 receives the

incoming return cash letter and charges back Ms. Smith’s account, there is nothing in the account

to fund the chargeback. As a result, Bank 2 has extended Ms. Smith $100.00 of credit on the

account of the returned item.

21.     As detailed below, Reagor-Dykes perpetrated a multi-million dollar check kiting scheme.

FirstCapital leveraged its insider connections with Reagor-Dykes ownership and management to

game the system to allow FirstCapital to continue to collect on fraudulent deposits, while imposing

the resulting losses, totaling over $6,000,000.00, onto Vista.

        C. The Reagor-Dykes Check Kiting Scheme against Vista.

22.     Reagor-Dykes utilized its close relationship and multiple accounts with FirstCapital to

execute a massive check kiting scheme against Vista. Reagor-Dykes implemented its check kiting

scheme through serial multi-million-dollar check deposits among its accounts at FirstCapital,

Vista, and other banks. However, as detailed below, FirstCapital exploited its special insider

relationship with Dykes-Reagor-Dykes’ co-owner and FirstCapital Advisory Board Member,




Plaintiff’s Second Amended Complaint                                                    Page 7 of 28
   Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 8 of 28 PageID 833


major shareholder, and former Director—to improperly shift the scheme’s fraud and cause injury

to Vista.

23.     Initially, the Reagor-Dykes scheme resembled the example detailed above. Reagor-Dykes

management maintained multiple checking accounts at multiple financial institutions, including

accounts at FirstCapital and Vista. Reagor-Dykes initiated a practice of regularly writing and

depositing a high-volume of large denomination checks among these accounts.

24.     Reagor-Dykes wrote multi-million-dollar checks from FirstCapital accounts, deposited

these checks into Vista accounts, and then issued payments from the Vista accounts based on these

deposits to cover obligations or make deposits to their accounts at another financial institution. In

doing this, Reagor-Dykes obtained millions of dollars in unauthorized credit from Vista during the

“float” period while Vista completed the cash letter process with the Federal Reserve and waited

for FirstCapital to fund the deposited items.

25.     The scheme’s cycle of deposits and fraudulent float credit survived only if Reagor-Dykes

maintained the volume and speed of its deposit cycle to keep ahead of the check clearing and cash

letter process; however, a disruption such as Reagor-Dykes filing bankruptcy would cut the cycle,

reveal the fraud, and lead Vista to freeze its Reagor-Dykes accounts. Vista would return the items

Reagor-Dykes wrote on its Vista accounts and initiate returns on the FirstCapital checks Reagor-

Dykes deposited to prevent unauthorized credit advances. And that’s exactly what happened—

except that FirstCapital found a way to use its insider access to Dykes to channel over

$6,000,000.00 in losses and damages to Vista, allowing FirstCapital to knowingly profit from the

scheme by continuing to accept funds from fraudulent deposits while implementing mass returns

and chargebacks onto Vista.




Plaintiff’s Second Amended Complaint                                                      Page 8 of 28
   Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 9 of 28 PageID 834


26.     In January of 2018, Reagor admitted in a meeting with his employees that Reagor-Dykes

had to pay $25 million in a period of only four days to an undisclosed creditor following a floorplan

inventory in March of 2017. As stated herein, B. Burgess informed Dykes more than once in 2017

of account overdraft problems. Additionally, FirstCapital was a significant floorplan financier of

Reagor Auto Mall, Reagor-Dykes’ most lucrative dealership.

        D. FirstCapital’s Source of Insider Information.

27.     Rick Dykes (“Dykes”) is a co-owner of Reagor-Dykes with Bart Reagor (“Reagor”).

Reagor-Dykes is a well-known regional auto dealership enterprise, with locations throughout

North and West Texas.

28.     Until just before Reagor-Dykes filed bankruptcy, Dykes served as a member of

FirstCapital’s Board of Advisors and previously held a seat as a Director on FirstCapital’s Board

of Directors. In fact, FirstCapital transitioned Dykes from a Director to its Board of Advisors to

avoid banking regulatory scrutiny and potentially to increase the amount FirstCapital could lend

Reagor-Dykes. Dykes was told by Defendants that he was being moved from his director role due

to Federal Banking Regulation O. Despite his removal as a Board member, Dykes continued his

old role with no changes. Further, Dykes is a large FirstCapital shareholder, having admitted under

oath on August 13, 2018 that he holds approximately 375,000 of FirstCapital’s shares.

29.     Brad Burgess had at least two conversations with Rick Dykes in 2017, where Brad Burgess

discussed Reagor-Dykes’ overdrawn bank accounts. Thus, B. Burgess and FirstCapital were on

reasonable notice of the Reagor-Dykes’ check-kiting scheme as early as 2017.

30.     Reagor-Dykes maintained active deposit accounts with Vista and FirstCapital, among other

banking institutions.




Plaintiff’s Second Amended Complaint                                                      Page 9 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 10 of 28 PageID 835


        E.    FirstCapital Leverages its Advisory Board Member, Major Shareholder, and
              Former Director, Rick Dykes, to Pin the Damages onto Vista.

31.     As noted above, Dykes held high management and key ownership roles at both Reagor-

Dykes and FirstCapital, serving as Reagor-Dykes co-owner and FirstCapital Advisory Board

Member, major shareholder, and former Director.

32.     On or before Saturday, July 28, 2018, Ford Motor Credit Company, LLC (“Ford”), Reagor-

Dyke’s largest inventory-lender, notified Dykes of Ford’s discovery of massive fraud and

insolvency at Reagor-Dykes. Ford terminated Reagor-Dykes’ funding, declared default, and

threatened immediate legal action to, among other actions, seize Reagor-Dykes’ assets.

33.     On Saturday, July 28, 2018, Dykes confided to a friend regarding Reagor-Dykes’

insolvency and planned bankruptcy filing.

34.     Reagor-Dykes’ management, including Dykes, worked with counsel through Monday, July

30, 2018 to appease Ford; however, no agreement was reached. Reagor-Dykes continued

emergency bankruptcy preparations in anticipation of Ford’s legal actions.

35.     On Tuesday, July 31, 2018, Dykes met with B. Burgess, Tracy Bacon, and Mike Cannon

and warned FirstCapital and B. Burgess of Ford’s impending legal action, Reagor-Dykes’ severe

financial problems (including the check-kite), and Reagor-Dykes’ planned bankruptcy filing.

Dykes alerted no other creditors to these facts.

36.     Also, on July 31, 2018, Ford sued nine (9) Reagor-Dykes entities and Messrs. Reagor and

Dykes in the U.S. District Court for the Northern District of Texas, Lubbock Division, alleging,

among other counts, bank fraud and claiming tens of millions of dollars of damages.

37.     The next day, on Wednesday, August 1, 2018, six (6) of the nine (9) Reagor-Dykes entities

filed petitions for bankruptcy protection. Lacking FirstCapital’s insider access, Vista did not learn




Plaintiff’s Second Amended Complaint                                                     Page 10 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                Page 11 of 28 PageID 836


about the check-kite and learned of the Reagor-Dykes bankruptcy through local Lubbock news

reports and word of mouth.

38.     The timing of these events and FirstCapital’s contemporaneous and highly irregular

banking transactions detailed below establish that FirstCapital and B. Burgess used the inside

information Dykes provided them to act against Vista, weaponized the check clearance process

and systematically foisted over $6,000,000.00 in damages onto Vista to the benefit of the

Defendants.

        F.        FirstCapital Acts on Material, Non-Public Inside Information to Its Benefit
                  and Vista’s Harm.

39.     Prior to Dykes providing FirstCapital and B. Burgess key material, inside, non-public

information on the Reagor-Dykes fraud, bankruptcy planning and related insolvency, FirstCapital

timely cleared and paid Reagor-Dykes items deposited with Vista during normal hours, in a normal

volume, with no chargebacks or anomalies.

40.     On July 31, 2018, FirstCapital, at the direction of B. Burgess, turned this process on its

head, took Dykes’ information and systematically targeted Vista with a flood of irregular returned

and unpaid Reagor-Dykes items.

41.     As explained above, Reagor-Dykes used its numerous FirstCapital accounts to cycle a high

volume of large dollar checks through its Vista accounts. As a result, Vista is party to numerous

outgoing and incoming cash letters among FirstCapital and the Federal Reserve for Reagor-Dykes

related checks.

42.     On Friday, July 27, 2018, Vista processed check items, including numerous Reagor-Dykes

deposits, transmitting its outgoing cash letter to the Federal Reserve. On the next business day,

Monday, July 30, 2018, the Federal Reserve provided the items to FirstCapital in an incoming

cash letter.



Plaintiff’s Second Amended Complaint                                                  Page 11 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                   Page 12 of 28 PageID 837


43.     On a standard timeline, the following would have happened. On Tuesday, July 31, 2018,

FirstCapital would have identified and returned any items from Vista’s July 27th outgoing cash

letter that FirstCapital could not, or refused, to pay by issuing an outgoing return cash letter to the

Federal Reserve no later than midnight central standard time. Similarly, on Wednesday, August 1,

2018, no later than 2 p.m. central standard time, Vista would have received an incoming return cash

letter listing FirstCapital’s July 31st outgoing return cash letter items. FirstCapital deviated from

this process in many important and telling ways.

44.     Acting on the damning inside information FirstCapital and B. Burgess received from Dykes

on July 31st, FirstCapital, at the direction of B. Burgess, blew up the standard process and “worked

all night” in a greedy attempt to ram return items onto Vista as detailed below. On August 1, 2018,

at approximately 10:30 a.m. central time, Reagor-Dykes filed bankruptcy. With the exception of

FirstCapital, creditors received notice later the same day through local Lubbock news sources and

word of mouth.

45.     On August 2, 2018, Vista received notice of FirstCapital’s return and nonpayment of

seventy-nine (79) Reagor-Dykes’ items totaling $5,536,111.63, under the return reason of

“uncollected funds hold” or “UCF.” Prior to FirstCapital’s return of these seventy-nine (79) items,

FirstCapital had never returned a single Reagor-Dykes item to Vista for nonpayment.

46.     It is telling that FirstCapital submitted such a large volume of returns in its August 1, 2018

outgoing return cash letter for at least four reasons:

        1) FirstCapital’s August 1st cash letter included thirty-eight (38) returned items from
        Vista’s July 27, 2018, outgoing cash letter, totaling $2,724,112.78 in returns. Having
        missed the July 31, 2018, return deadline for July 27, 2018, dated items, these thirty-eight
        (38) items were late under the Federal Reserve guidelines, requiring FirstCapital to engage
        in the labor-intensive investigation, processing and manual entry of all such “late” returns.
        To have processed and submitted all these late returns on August 1st indicates that
        FirstCapital began processing the return of these July 27th items well before Reagor-Dykes
        bankruptcy filing the mid-morning of August 1, 2018. FirstCapital’s use of the manual



Plaintiff’s Second Amended Complaint                                                      Page 12 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 13 of 28 PageID 838


        return process alone is evidence of FirstCapital engaging in extraordinary efforts to hit
        Vista with return loses.

        2) FirstCapital’s processing and submitting the voluminous July 27th late returns on
        August 1st also indicates, upon information and belief, that FirstCapital initially approved
        these July 27th items for payment early on July 31st, but frantically reversed the course
        following FirstCapital’s and B. Burgess meeting with Dykes later on July 31st, trying and
        failing to timely return these items by the July 31, 2018 Federal Reserve cutoff.

        3) Of all of Reagor-Dykes banking institutions, including at least FirstCapital, IBC Bank of
        Oklahoma, AIM Bank and Vista, (i) only FirstCapital submitted an outgoing return cash
        letter on August 1st, the date Reagor-Dykes filed bankruptcy; and (ii) only FirstCapital
        attempted to charge back July 27, 2018, Reagor-Dykes items.

        4)      Dykes himself admitted to Vista’s counsel that FirstCapital’s team did in fact “work
        all night” on July 31st and early on August 1st to accelerate and process these voluminous
        returns to Vista.

47.     On September 28, 2018, Ken Burgess issued a letter to the shareholders of First Bancshares

of Texas, Inc., to “give an update on this situation, given the fact that FirstCapital Bank (Bank) is

involved in two . . . lawsuits.” This letter was made public by Defendants when a link to “an

important letter from First Bancshares of Texas, Inc. CEO, Ken Burgess” was placed on

FirstCapital’s public website. Ken Burgess’ letter stated in pertinent part:

        Simply stated, as a result of the financial condition of a group of related companies
        that are customers of our Bank, a lawsuit was filed on July 31, 2018 by Ford Motor
        Credit Company against those companies and their individual owners. On the next
        day, August 1, 2018, six of those companies filed for Chapter 11 Bankruptcy
        protection. Immediately following these filings, our Bank took internal steps to
        protect our Bank, our customers and our shareholders from what we had
        determined was a possible check kiting scheme that had apparently been
        orchestrated by someone internally associated with those companies. Despite
        our efforts, various banks, including ours, sustained losses in this process. So far,
        two of the harmed banks have sued our Bank, as well as Brad Burgess and me. Our
        Bank’s position is that none of the claims made by those two banks against the three
        of us are supported by any of the applicable laws that govern banks in situations
        such as this.

(emphasis added).




Plaintiff’s Second Amended Complaint                                                     Page 13 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                 Page 14 of 28 PageID 839


48.     The above-highlighted language from Defendants’ letter to its shareholders contains false

and misleading information. It insinuates that Defendants only took action after the Reagor-Dykes

bankruptcy filings. However, as detailed above, Defendants took actions to return items to Vista

immediately upon gaining non-public insider knowledge after the meetings conducted between

Dykes and the Defendants on July 31st, 2018, the day before the bankruptcy filings. Ken Burgess’

misleading statements to FirstCapital’s shareholders further corroborates Defendants’ intentions

and utilization of nonpublic insider information to shield itself and ensure that any accompanying

losses would be placed on other financial institutions. Defendants’ actions were prompted by more

than minimizing losses to FirstCapital from the check-kite: as significant shareholders in

FirstCapital’s holding company, B. Burgess’s personal wealth would decrease sharply in direct

correlation with a decrease in FirstCapital’s stock value; and FirstCapital’s stock and cash

acquisition of Fidelity Bank would have required a significantly larger cash infusion from

FirstCapital had the whole truth come out at this critical time. Not only was it important for

FirstCapital to protect its stock price for the Fidelity Bank acquisition, but on information and

belief, the Fidelity Bank acquisition was merely a stepping stone as part of FirstCapital’s plan to

become a publicly traded bank.

49.     In summary, the evidence is clear that FirstCapital and B. Burgess’: (i) directly received

material, non-public, inside information from Dykes, acting as both a Reagor-Dykes insider and a

FirstCapital insider; (ii) intentionally and immediately acted on this information to damage Vista;

and (iii) fraudulently presented items for payment as detailed in the next section.

        G.      The Defendants’ Actions Intentionally Damaged Vista by at Least
                $6,000,000.00.

50.     FirstCapital’s and B. Burgess’ actions in conspiring with their friend and FirstCapital

insider, Dykes, directly, knowingly and intentionally damaged Vista. As banking system



Plaintiff’s Second Amended Complaint                                                   Page 14 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 15 of 28 PageID 840


professionals, the Defendants understood well the check clearing and chargeback process and how

to exploit its timing to ensure FirstCapital continued to collect funds from fraudulent Reagor-Dykes

deposits into its accounts while Vista absorbed the damages for the Reagor-Dykes bankruptcy and

check kiting collapse. FirstCapital and B. Burgess weaponized the check clearance process and

systematically foisted over $6,000,000.00 in damages onto Vista.

51.     First, by accelerating the mass return, including the manual late return, of millions of

dollars in Reagor-Dykes items to Vista on July 31st and August 1st, FirstCapital and B. Burgess

acted on Dykes’ inside information to accelerate and exploit Vista’s exposure to the Reagor-Dykes

scheme, while intentionally depriving Vista of any opportunity to avoid accepting Reagor-Dykes

deposits from FirstCapital, deposits FirstCapital knew it would never honor.

52.    Second, on information and belief, FirstCapital prematurely froze payments from Reagor-

Dykes’ FirstCapital bank accounts, before any bankruptcy filing, even when these accounts

otherwise held available funds to pay items on Vista’s July 27th and 30th outbound cash letters.

Upon information and belief, at the same time FirstCapital initiated return of Reagor-Dykes’ items

to Vista, FirstCapital had approximately $8,500,000.00 in Reagor-Dykes funds from which to pay

Vista on these items. Instead of paying Vista as it should have, and in furtherance of its scheme to

harm Vista for its own benefit, FirstCapital froze all Reagor-Dykes funds and returned Reagor-

Dykes’ checks with the reason of “uncollected funds hold”.

53.     FirstCapital’s use of the uncollected funds hold or “UCF” reason, indicating pending but

forthcoming funds, as opposed to the “NSF” reason, indicating an unfrozen account that lacks

sufficient funds, further supports the conclusion that FirstCapital intentionally withheld Reagor-

Dykes accounts to avoid paying Vista. Furthermore, FirstCapital’s use of the “UCF” reason on

the returned checks, which suggests that adequate funding is pending but simply not yet




Plaintiff’s Second Amended Complaint                                                    Page 15 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                 Page 16 of 28 PageID 841


unavailable, rather than the “NSF” or “Frozen Account” codes FirstCapital could have used,

constitute an intentional attempt to deceive Vista into believing that there was nothing to be

worried about as to the eventual collection of these funds and the maker’s solvency.

54.     On August 3, 2018, Vista received fifty (50) more items totaling $3,465,809.56, which

were returned for non-payment from FirstCapital, drawn off accounts belonging to Reagor-Dykes

entities. Of those items, forty-seven (47) items totaling $3,294,354.25 were returned under the

reason “uncollected funds hold,” and only three (3) items totaling $171,455.31 were returned for

insufficient funds.

55.     In total, FirstCapital’s and B. Burgess’ actions damaged Vista by actively funneling

$6,000,000.00 in Reagor-Dykes chargebacks and losses onto Vista, allowing FirstCapital and B.

Burgess to improperly profit from its close relationship with Dykes, a large FirstCapital

shareholder, Advisory Board Member and longtime former FirstCapital Director.

56.    In fact, FirstCapital now hides its close relationship and long history with Dykes, covering

its tracks and disassociating itself from Dykes by deleting evidence of this relationship from its

website. It appears FirstCapital has already received all it needs from Dykes.

57.    Further, while FirstCapital knowingly allowed Vista to advance funds on account of

fraudulent Reagor-Dykes items, FirstCapital itself received over $7,500,000.00 in funds Vista

advanced and paid (without return) as a payor bank on Reagor-Dykes items payable from a Vista

held account and deposited at a FirstCapital held account. Thus, by allowing the fraud to advance,

FirstCapital directly collected (and prevented timely return of) over $7,500,000.00 in Vista

payments on Reagor-Dykes items– items that Vista could have returned if it possessed the same

advanced knowledge as FirstCapital.




Plaintiff’s Second Amended Complaint                                                   Page 16 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                   Page 17 of 28 PageID 842


58.     Vista files this lawsuit to recover over $6,000,000.00 in damages FirstCapital and B.

Burgess inflicted on Vista through the Defendants’ improper use of material, non-public, inside

information to benefit from the Reagor-Dykes’ check kiting scheme.

        H.      Defendants Demand Fraudulent Transfers from Reagor and Dykes

59.    After Defendants got insider knowledge from Dykes about the full extent of the Reagor-

Dykes insolvency, between August 2 and August 7, 2018, in a series of three pledge agreements,

Dykes pledged an additional $7.5 million in collateral to FirstCapital, approximately $2.75 million

in cash and $4.7 million in FirstCapital stock (260,302 shares), and Reagor pledged currently

unknown amounts in mutual funds to FirstCapital. In return, FirstCapital agreed to provide an

additional $2.1 million in floorplan financing for the Reagor Auto Mall (“RAM”) dealership (which

was the highest performing Reagor-Dykes dealership).

60.    On August 6, 2018, a letter from Mr. John Massouh, an attorney for FirstCapital, was sent

to Mr. David Langston, then counsel for various Reagor-Dykes entities, to set forth a proposed

pledge on additional assets for Reagor and Dykes in exchange for $2.1 million in additional

floorplan financing. Reagor, Dykes, and their spouses signed the pledge agreement. However,

FirstCapital stopped floorplan financing Reagor-Dykes on Monday, July 30.

61.    Putting its profitability first, FirstCapital did not advance any Reagor-Dykes entity any of

the additional $2.1 million in floorplan financing, despite the additional pledges of collateral, by

fraudulently taking this additional collateral and promises to do so. By doing so, FirstCapital sealed

the demise of the Reagor-Dykes Auto Group and ensured that hundreds of its employees would

lose their jobs. This also deprived other creditors, like Vista Bank, of the ability to recover for the

damages they suffered, while lining the pockets of FirstCapital. This is another example of




Plaintiff’s Second Amended Complaint                                                      Page 17 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 18 of 28 PageID 843


FirstCapital using its insider relationship with Mr. Dykes to the detriment of all others, as

FirstCapital pursued its quest to become a publicly traded bank.

        I.      Millions of Dollars in Suspect Loan Money Given to Bart Reagor and Shane
                Smith, Even After Reagor-Dykes Implodes

62.    Even after getting insider information in advance of the Reagor-Dykes bankrupty filings,

and freezing Reagor-Dykes’ bank accounts, inexplicably, FirstCapital, as authorized by B. Burgess,

gave Reagor-Dykes’ CEO Bart Reagor and CFO Shane Smith millions of dollars in loan money

which the Defendants had to reasonably know would never be repaid.

63.    One day after the first round of Reagor-Dykes bankruptcy filings, on August 2, 2018,

FirstCapital provided a home equity loan to Bart Reagor in the amount of $1,004,883.75.

FirstCapital provided this money to Mr. Reagor, even though they knew the bankruptcy filings were

material adverse changes to Mr. Reagors’ financial wherewithal. As the Chief Executive Officer of

the Reagor-Dykes entities, Bart Reagor was ultimately responsible for all operations of the

companies, and he had intimate knowledge of the activities and banking practices of the businesses.

64.    FirstCapital also issued a second lien home equity loan to Shane Smith on September 21,

2018, in the amount of $395,900.00. One can reasonably assume that Mr. Smith’s first mortgage

on his home was paid off with these loan proceeds, given that Shane Smith had valued his property

at $451,300.00 on a personal financial statement. Due to federal mortgage regulations, it is

inexplicable how Defendants were able to make this loan, because they knew Mr. Smith had been

fired from his job and accused of criminal wrongdoing and would not be able to provide current

income verification to support this massive loan. Based on B. Burgess’ conversations with Dykes,

the Defendants also had knowledge that Shane Smith was the supposed mastermind of the check-

kiting scheme that damaged Vista Bank and other innocent banks.




Plaintiff’s Second Amended Complaint                                                   Page 18 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                   Page 19 of 28 PageID 844


65.    The Defendants’ personnel worked intimately with Reagor-Dykes’ personnel, including its

CFO, Shane Smith, and were aware of information as early as 2017 that would lead Defendants to

conclude that Reagor-Dykes was operating a check-kiting scheme. The Defendants absolutely knew

full well of the check-kiting scheme no later than July 31, 2018.

66.    As there could be no reasonable banking rationale for giving millions of dollars in cash to

Bart Reagor and Shane Smith after the bankruptcy filings, one can reasonably deduce that these

payments were given to these men to help finance their legal defense funds, and to reward them for

their involvement with Defendants’ banking operations. Reagor Auto Mall was the crown jewel of

the Reagor-Dykes auto group, and FirstCapital provided key floorplan financing for Reagor Auto

Mall. FirstCapital and B. Burgess benefited from their banking relationships with the Reagor-Dykes

companies, and Rick Dykes, Bart Reagor, and Shane Smith.

                                               V.
                                       CLAIMS FOR RELIEF

              Count 1 – Breach of Federal Reserve Regulation CC, 12 C.F.R. § 229
                                        (FirstCapital)

67.     Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

68.     The Expedited Funds Availability Act (12 U.S.C. §§ 4001-10) authorizes the Federal

Reserve to impose or allocate among banks the risks of loss and liability in connection with any

aspect of the check payment system. In cases of bad faith, damages suffered by a bank as a

proximate consequence of any act or omission by another bank giving rise to a loss or liability

may be imposed. 12 U.S.C. § 4010(f). The Federal Reserve has implemented this authority by

enactment of Regulation CC (“Reg CC”). 12 CFR § 229.30. The United States Supreme Court

has affirmed that federal courts have subject matter jurisdiction for suits brought by one bank

against another financial institution for a violation of their Regulation CC duties, thus allowing


Plaintiff’s Second Amended Complaint                                                  Page 19 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 20 of 28 PageID 845


FirstCapital’s violations to be enforced through a private right of action. Bank One Chicago v.

Midwest Bank & Trust Co., 516 U.S. 264, 272 (1996).

69.     Federal Reserve Regulation CC, 12 C.F.R § 229.38(a), the liability section for Regulation

CC’s subpart C, states:

        (a) Standard of care; liability; measure of damages. A bank shall exercise ordinary
        care and act in good faith in complying with the requirements of this subpart. A
        bank that fails to exercise ordinary care or act in good faith under this subpart may
        be liable to the depositary bank, the depositary bank's customer, the owner of a
        check, or another party to the check. The measure of damages for failure to exercise
        ordinary care is the amount of the loss incurred, up to the amount of the check,
        reduced by the amount of the loss that party would have incurred even if the bank
        had exercised ordinary care. A bank that fails to act in good faith under this subpart
        may be liable for other damages, if any, suffered by the party as a proximate
        consequence....

12 C.F.R. § 229.38(a) (emphasis added).

70.    FirstCapital is a “Bank” as defined by Regulation CC, 12 C.F.R. § 229.2(e), imposing a

legal duty on FirstCapital to exercise ordinary care and act in good faith in the check clearance,

return and Federal Reserve letter process with Vista.

71.     FirstCapital failed to exercise ordinary care and failed to act in good faith with Vista by,

among other acts, (i) improperly leveraging its Advisory Board member, former Director and

major shareholder’s role as an insider of Reagor-Dykes to obtain material, non-public, inside

knowledge of the Reagor-Dykes fraud, (ii) intentionally concealing its knowledge of the fraud to

ensure the fraud continued, and (iii) used this insider knowledge to benefit from the Reagor-Dykes

fraud by returning and refusing to fund Reagor-Dykes checks held by Vista that FirstCapital

otherwise should have funded, forcing Vista to incur the losses for these items, and (iv)

intentionally misleading Vista in stating the reason for the check returns were due to uncollected

funds, as opposed to insufficient funds or a frozen account.




Plaintiff’s Second Amended Complaint                                                     Page 20 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                   Page 21 of 28 PageID 846


72.       For these, and the other improper actions detailed in this Complaint, FirstCapital breached

Federal Reserve Regulation CC, 12 C.F.R. § 229 in its dealings with Vista.

73.       FirstCapital’s breaches damaged Vista in the amount of over $6,000,000.00, plus lost

interest and attorneys’ fees.

                                       Count 2—Breach of Contract
                                              (FirstCapital)

74.       Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

75.       Under Texas Business and Commerce Code 4.103(b), which states that federal banking

regulations have the effect of agreements between the financial institutions handling items, there

was a valid enforceable contract between Vista and FirstCapital, namely Regulation CC. As part

of Regulation CC, subpart C, Vista and FirstCapital agreed to exercise ordinary care and act in

good faith, each as to the other, in complying with the requirements of Regulation CC, Subpart C

Vista is the proper party to sue FirstCapital for breach of contract of this agreement. Vista fulfilled

its obligations under this agreement by exercising ordinary care and acting in good faith in

complying with the requirements of Regulation CC, subpart C.

76.       First Capital failed to fulfill its obligations under this agreement. In using its insider

information to offload the losses of the check kite at issue, attempting to return millions of dollars

in checks after the midnight deadline, attempting to deceive Vista at to the existence of a check

kite by using the misleading code “UCF” rather than “NSF” or “Frozen Account,” and otherwise

acting in bad faith, FirstCapital failed to exercise ordinary care and good faith in meeting the

requirements of Regulation CC, Subpart C. This breach, further described above, caused Vista

injury.




Plaintiff’s Second Amended Complaint                                                      Page 21 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                 Page 22 of 28 PageID 847


                   Count 3 –Liability as Beneficiary of Reagor-Dykes’ Fraud
                                (First Capital and B. Burgess)

77.    Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

78.    In perpetrating its check kiting scheme, Reagor-Dykes committed fraud against Vista by,

among other actions:

        a. Misrepresenting that the items Reagor-Dykes deposited with Vista were valid and

        payable by FirstCapital; Reagor-Dykes and its representatives who made check deposits

        made this misrepresentation to Vista on Vista’s premises or through the mails on almost

        every single business-day for a period of many months and with certainty including the

        period from July 1, 2018, through July 31, 2018, by depositing checks with the Vista

        representatives who accepted and processed these deposits.

        b. These misrepresentations were material in that Vista would not have made funds

        available to Reagor-Dykes if Vista knew the representations were false;

        c. Reagor-Dykes knew the items were not payable, and that these representations to Vista

        were false;

        d. Reagor-Dykes made the representations to Vista to induce Vista to provide Reagor-

        Dykes access to funds through its Vista accounts;

        e. Vista relied on these representations in providing access to funds on account of these

        items; and

        f. Vista’s reliance caused it damages of at least $6,000,000.00.

79.     Defendants had actual, advanced, and insider knowledge of the Reagor-Dykes fraud, check

kiting scheme, and related misrepresentations to Vista and used this knowledge to preserve the fraud

long enough to enable FirstCapital and B. Burgess to pass FirstCapital’s risk onto Vista, allowing



Plaintiff’s Second Amended Complaint                                                    Page 22 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                   Page 23 of 28 PageID 848


FirstCapital to retain and collect funds that otherwise it would have lost and to avoid paying funds

to Vista it otherwise should have paid. Put simply, FirstCapital knowingly hid behind the Reagor-

Dykes fraud while fraud-related funds flowed to FirstCapital, and FirstCapital pushed loses to Vista

through FirstCapital’s mass return of Reagor-Dykes checks.

80.     Due to FirstCapital’s and B. Burgess’ scheme to benefit from the Reagor-Dykes fraud,

Vista has been damaged in the amount of over $6,000,000.00.

                                          Count 4 – Negligence
                                             (FirstCapital)

81.    Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

82.     FirstCapital owed a legal duty to timely pay items held by Vista and to otherwise comply

with the cash letter, check payment and clearance process in good faith. Further, FirstCapital owed

Vista a legal duty of ordinary care and good faith under Regulation CC, 12 C.F.R § 229.38(a).

83.     FirstCapital breached these duties, by, among other bad acts, negligently and prematurely

freezing Reagor-Dykes accounts, taking advantage of insider information to game the check

payment and return system and intentionally diverting losses to Vista.

84.     FirstCapital’s actions that benefitted from the Reagor-Dykes fraud damaged Vista in an

amount to be determined by the trier of fact.

                                       Count 5 – Gross Negligence
                                             (FirstCapital)

85.     Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.




Plaintiff’s Second Amended Complaint                                                    Page 23 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 24 of 28 PageID 849


86.     FirstCapital engaged in its negligent activities with knowledge and a conscious indifference

to the extreme degree of risk of harm that Vista would inevitably incur. Further, FirstCapital owed

Vista a legal duty of ordinary care and good faith under Regulation CC, 12 C.F.R § 229.38(a).

87.     Due to FirstCapital’s gross negligence, Vista has been damaged in an amount to be

determined by the trier of fact, which is to include an amount associated with punitive damages.

                                Count 6 – Money Had and Received
                                          (FirstCapital)

88.     Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

89.     FirstCapital collected and withheld monies payable to Vista.

90.     FirstCapital knowingly facilitated and supported the continuation of Reagor-Dykes’ check

kiting scheme to enable FirstCapital to continue to collect fraud-related funds and deposits while

actively pushing fraud losses on to Vista through a system of mass returns, causing Vista to suffer

over $6,000,000.00 in damages. This money in equity and good conscience belongs to Vista, and

FirstCapital and Reagor have refused to return this money.

91.    As a result, FirstCapital should be required to pay to Vista this wrongfully withheld money.

                                       Count 7 – Conversion
                                          (FirstCapital)

92.     Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

93.     Vista had the legal right to possess the funds held by FirstCapital from various items and

cash letters drawn from FirstCapital accounts.

94.     FirstCapital wrongfully exercised dominion over these funds.




Plaintiff’s Second Amended Complaint                                                     Page 24 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                    Page 25 of 28 PageID 850


95.     Due to FirstCapital’s wrongful dominion over these funds, Vista has been damaged in an

amount to be determined by the trier of fact.

                                       Count 8 – Unjust Enrichment
                                              (FirstCapital)

96.     Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

97.     In the alternative, and to the extent a contract does not govern the benefits received by

FirstCapital as a result of its wrongful conduct, FirstCapital unjustly enriched itself at Vista’s

expense because of fraud and the undue advantage of having Dykes, one of its trusted board

members, major shareholder, and key executive officer of Reagor-Dykes as an insider to the check

kiting scheme. Therefore, Vista asserts a claim against this money, which in equity and good

conscience, belongs to Vista.

           Count 9 – Mistake and Restitution Under Tex. Bus. Com. Code § 3.418
                                      (FirstCapital)

98.    Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

99.    In the alternative, Vista should be awarded recovery of the payments it made as payor bank

starting on July 30, 2018, to FirstCapital on Reagor-Dykes items drawn on Vista accounts and

deposited at FirstCapital accounts. FirstCapital’s simultaneous dishonor of items presented for

payment by Vista, late return of checks, and misleading coding of the checks as “UCF” shows

that FirstCapital cannot access the “good faith” safe harbor afforded by sub-section (c) of § 3.418.

Sub-section (b)’s restitution provision applies because Vista was mistaken in its payment of these

checks—a mistake that was induced by FirstCapital in that FirstCapital withheld material inside




Plaintiff’s Second Amended Complaint                                                    Page 25 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                   Page 26 of 28 PageID 851


information from Vista regarding the check kite. Vista seeks restitution for these payments in the

amount of over $7,500,000.00.

     Count 10 – Fraudulent Transfers Under Texas Uniform Fraudulent Transfer Act
                                     (FirstCapital)

100. Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

101. Vista has a right to payment from Dykes and Reagor, and Dykes and Reagor are both liable

to Vista due to their breached personal guarantees of Reagor-Dykes’ debt and arising from the

preceding facts related to the check kiting scheme. Dykes and Reagor are jointly liable to Vista.

102. Dykes and Reagor are insolvent debtors because the sum of their debts is greater than the

sum of all their assets at a fair valuation. Notwithstanding, Dykes and Reagor transferred millions

of dollars in assets to FirstCapital in the form of pledges.

103. These pledges are fraudulent transfers because FirstCapital did not give reasonable

consideration, or a reasonably equivalent value in exchange for the pledges.

104. Therefore, Vista seeks avoidance of the pledges to the extent necessary to satisfy its claims

for payment against Dykes and Reagor.

                                           Attorneys’ Fees
                                            (FirstCapital)

105. Vista repeats and incorporates by reference the allegations set forth in the preceding

paragraphs.

106. The law requires Vista to engage counsel to represent it in the prosecution of these claims.

Vista has agreed to pay its attorneys a reasonable fee for their services and is entitled to recover

such fees from FirstCapital pursuant to Federal Reserve Regulation CC, Texas Civil Practice and




Plaintiff’s Second Amended Complaint                                                      Page 26 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                  Page 27 of 28 PageID 852


Remedies Code 38.001, as well as any other state or federal statute providing for the payment of

attorneys’ fees to the prevailing party on claims pleaded by Vista herein.

                                              VI.
                                         JURY DEMAND

107. Vista requests that a jury be convened to try the factual issues in this case.

                                              VII.
                                       REQUEST FOR RELIEF

        WHEREFORE, premises considered, Vista respectfully requests that the Court set this case

for trial, and that the Court grant Vista the following relief against Defendants, as follows:

        a)      Compensatory damages to be proven at trial on all issues available;

        b)      Disgorgement of ill-gotten gain that Defendants received in their unlawful

        activity;

        c)      Punitive damages to be proven at trial on all issues available based on Defendants’

                wrongful conduct, in an amount no less than $12,000,000, pursuant to TEX. CIV.

                PRAC. & REM. CODE §41.008;

        d)      Vista’s consequential damages based on Defendants’ wrongful conduct;

        e)      Avoidance of the fraudulent transfers to FirstCapital by Dykes and Reagor;

        f)      Pre-Judgment and Post-judgment interest at the maximum rate allowed by law;

        g)      All costs and expenses of litigation, including all reasonable and necessary

                attorneys’ fees incurred in bringing this action; and

        h)      Such other and further relief as the Court deems just and proper.




Plaintiff’s Second Amended Complaint                                                     Page 27 of 28
  Case 5:18-cv-00204-C Document 59 Filed 03/22/19                   Page 28 of 28 PageID 853


                                               Respectfully submitted,


                                               By:/s/ Fernando M. Bustos
                                                 Fernando M. Bustos
                                                 State Bar No. 24001819
                                                 fbustos@bustoslawfirm.com
                                                 Matthew N. Zimmerman
                                                 State Bar No. 24100386
                                                 mzimmerman@bustoslawfirm.com
                                                 Dustin N. Slade
                                                 State Bar No. 24073714
                                                 dslade@bustoslawfirm.com
                                               BUSTOS LAW FIRM, P.C.
                                               P.O. Box 1980
                                               Lubbock, Texas 79408-1980
                                               Phone: (806) 780-3976
                                               Facsimile: (806) 780-3800

                                               ATTORNEYS FOR VISTA BANK



                                   CERTIFICATE OF SERVICE

        I hereby certify that on this date I electronically filed the foregoing document with the clerk
of the court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court, the electronic filing system sent a “Notice of Electronic Filing” to all attorneys
of record who have consented in writing to accept this Notice as service of this document by
electronic means.


                                               /s/ Fernando M. Bustos
                                               Fernando M. Bustos




Plaintiff’s Second Amended Complaint                                                      Page 28 of 28
